                   Case 2:17-cv-00094-RAJ Document 571 Filed 07/21/21 Page 1 of 4



 1                                                          THE HONORABLE RICHARD A. JONES
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
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     ABDIQAFAR WAGAFE, et al., on behalf               No. 2:17-cv-00094-RAJ
10   of themselves and others similarly situated,
                                                       STIPULATION FOR ORDER THAT
11                           Plaintiffs,               THE CLERK UNSEAL DOCKET 550
                                                       AND ORDER THEREON
12            v.
13   JOSEPH R. BIDEN, President of the
     United States, et al.,
14
                             Defendants.
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17            WHEREAS Plaintiffs filed the Declaration of Liga Chia and its Supporting Exhibit A

18   (Dkt. 550) under seal; and

19            WHEREAS Defendants have no objection to the Declaration of Liga Chia and its

20   supporting Exhibit A (Dkt. 550) being publicly filed in its entirety,

21            NOW THEREFORE the parties do hereby stipulate and agree that the Court may make

22   and enter the following order:

23            1. The Clerk of Court shall unseal Docket 550.

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28   STIPULATION FOR ORDER
     UNSEALING DKT. 550 AND ORDER THEREON                                           Perkins Coie LLP
                                                                               1201 Third Avenue, Suite 4900
     (NO. 2:17-CV-00094-RAJ) – 1                                                 Seattle, WA 98101-3099
                                                                                   Phone: 206.359.8000
     153041654.2                                                                    Fax: 206.359.9000
                   Case 2:17-cv-00094-RAJ Document 571 Filed 07/21/21 Page 2 of 4



 1   SO STIPULATED.                                 DATED: July 21, 2021
 2   s/ Jennifer Pasquarella                        s/ Harry H. Schneider, Jr.
     s/ Liga Chia                                   s/ Nicholas P. Gellert
 3   Jennifer Pasquarella (admitted pro hac vice)   s/ David A. Perez
     Liga Chia (admitted pro hac vice)              s/ Heath L. Hyatt
 4   ACLU Foundation of Southern California         s/ Paige L. Whidbee
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11                                                  Pwhidbee@perkinscoie.com
     s/ Stacy Tolchin
12   Stacy Tolchin (admitted pro hac vice)          s/ John Midgley
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15                                                  jmidgley@aclu-wa.org
     s/ Hugh Handeyside
16   s/ Lee Gelernt                                 s/ Sameer Ahmed
     s/ Hina Shamsi                                 s/ Sabrineh Ardalan
17   s/ Charles Hogle                               Sameer Ahmed (admitted pro hac vice)
     Hugh Handeyside #39792                         Sabrineh Ardalan (admitted pro hac vice)
18   Lee Gelernt (admitted pro hac vice)            Harvard Immigration and Refugee
     Hina Shamsi (admitted pro hac vice)            Clinical Program
19   Charles Hogle (admitted pro hac vice)          Harvard Law School
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20   125 Broad Street                               Cambridge, MA 02138
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23   chogle@aclu.org
                                                    Counsel for Plaintiffs
24

25

26

27

28   STIPULATION FOR ORDER
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                   Case 2:17-cv-00094-RAJ Document 571 Filed 07/21/21 Page 3 of 4



 1   SO STIPULATED.                               DATED: July 21, 2021
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 3   Acting Assistant Attorney General            Counsel for National Security
     Civil Division                               National Security Unit
 4   U.S. Department of Justice                   Office of Immigration Litigation

 5   AUGUST FLENTJE                               W. MANNING EVANS
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 7                                                BRENDAN T. MOORE
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10   Acting United States Attorney                Torts Branch
                                                  Civil Division
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     Assistant United States Attorney             VICTORIA M. BRAGA
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15                                                Counsel for Defendants
     ANNE DONOHUE
16   Counsel for National Security
     National Security Unit
17   Office of Immigration Litigation
18

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                                                                               Phone: 206.359.8000
     153041654.2                                                                Fax: 206.359.9000
                   Case 2:17-cv-00094-RAJ Document 571 Filed 07/21/21 Page 4 of 4



 1                                                ORDER
 2            IT IS SO ORDERED.

 3            DATED:                        , 2021.

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 6                           RICHARD A. JONES
                             United States District Judge
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